Case 8:18-cr-00192-SDM-CPT Document 160 Filed 07/09/18 Page 1 of 22 PagelD 336

AF Approval Chief Approval

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
UNITED STATES OF AMERICA
V. CASE NO. 8:18-cr-192-T-23CPT
JESUS MANUEL RODRIGUEZ
PLEA AGREEMENT
Pursuant to Fed. R. Crim. P. 11(c), the United States of America, by
Maria Chapa Lopez, United States Attorney for the Middle District of
Florida, and the defendant, Jesus Manuel Rodriguez, and the attorney for the
defendant, Nelson Alfaro, Esq., mutually agree as follows:
A.  Particularized Terms
1. Count(s) Pleading To
The defendant shall enter a plea of guilty to Count One of the
Indictment. Count One charges the defendant with conspiracy to possess with
intent to distribute 5 kilograms or more of mixture and substance containing a
detectable amount of cocaine, in violation of 21 U.S.C. § 846.
2. Minimum and Maximum Penalties
Count One is punishable by a mandatory minimum term of

imprisonment of 10 years up to Life, a fine not to exceed $10 million, a term

of supervised release of at least 5 years up to life, and a special assessment of

Defendant’s Initials j k #)

 
Case 8:18-cr-00192-SDM-CPT Document 160 Filed 07/09/18 Page 2 of 22 PagelD 337

$100 per felony count for individuals. With respect to certain offenses, the
Court shall order the defendant to make restitution to any victim of the
offense(s), and with respect to other offenses, the Court may order the
defendant to make restitution to any victim of the offense(s), or to the
community, as set forth below.

3. Alleyne v. United States and Apprendi v. New Jersey

Under Alleyne v. United States, 133 S. Ct. 2151 (2013), the defendant is
subject to a mandatory minimum sentence of 10 years’ imprisonment as to
Count One, and under Apprendi v. New Jersey, 530 U.S. 466 (2000), the
Court may impose a maximum sentence of life imprisonment as to Count One
because the following facts have been admitted by the defendant and are
established by this plea of guilty: the offense to which the defendant is
pleading guilty involved 5 kilograms or more of cocaine.

4. Elements of the Offense(s)

The defendant acknowledges understanding the nature and
elements of the offense(s) with which defendant has been charged and to
which defendant is pleading guilty. The elements of Count One are:

First: Two or more people in some way agreed to try to

accomplish a shared and unlawful plan to possess

cocaine;

Second: the Defendant knew the unlawful purpose of the
plan and willfully joined in it; and

Defendant’s Initials (Bb 2

 
Case 8:18-cr-00192-SDM-CPT Document 160 Filed 07/09/18 Page 3 of 22 PagelD 338

Third: the object of the unlawful purpose of the plan was to
possess with the intent to distribute five kilograms
or more of cocaine.

5. No Further Charges
If the Court accepts this plea agreement, the United States
Attorney's Office for the Middle District of Florida agrees not to charge
defendant with committing any other federal criminal offenses known to the
United States Attorney's Office at the time of the execution of this agreement,
related to the conduct giving rise to this plea agreement.
6. Guidelines Sentence
Pursuant to Fed. R. Crim. P. 11(c)(1)(B), the United States will
recommend to the Court that the defendant be sentenced within the
defendant’s applicable guidelines range as determined by the Court pursuant
to the United States Sentencing Guidelines, as adjusted by any departure the
United States has agreed to recommend in this plea agreement. The parties
understand that such a recommendation is not binding on the Court and that,
if it is not accepted by this Court, neither the United States nor the defendant
will be allowed to withdraw from the plea agreement, and the defendant will

not be allowed to withdraw from the plea of guilty.

Defendant’s Initials x ( b 3

 
Case 8:18-cr-00192-SDM-CPT Document 160 Filed 07/09/18 Page 4 of 22 PagelD 339

7. Acceptance of Responsibility - Three Levels

At the time of sentencing, and in the event that no adverse
information is received suggesting such a recommendation to be unwarranted,
the United States will not oppose the defendant’s request to the Court that the
defendant receive a two-level downward adjustment for acceptance of
responsibility, pursuant to USSG §3E1.1(a). The defendant understands that
this recommendation or request is not binding on the Court, and if not
accepted by the Court, the defendant will not be allowed to withdraw from the
plea.

Further, at the time of sentencing, if the defendant's offense level
prior to operation of subsection (a) is level 16 or greater, and if the defendant
complies with the provisions of USSG §3E1.1(b) and all terms of this Plea
Agreement, including but not limited to, the timely submission of the financial
affidavit referenced in Paragraph B.5., the United States agrees to file a motion
pursuant to USSG §3E1.1(b) for a downward adjustment of one additional
level. The defendant understands that the determination as to whether the
defendant has qualified for a downward adjustment of a third level for
acceptance of responsibility rests solely with the United States Attorney for the

Middle District of Florida, and the defendant agrees that the defendant cannot

Defendant’s Initials _; | Ke 4

 
Case 8:18-cr-00192-SDM-CPT Document 160 Filed 07/09/18 Page 5 of 22 PagelD 340

and will not challenge that determination, whether by appeal, collateral attack,
or otherwise.

8. Cooperation - Substantial Assistance to be Considered

Defendant agrees to cooperate fully with the United States in the

investigation and prosecution of other persons, and to testify, subject to a
prosecution for perjury or making a false statement, fully and truthfully before
any federal court proceeding or federal grand jury in connection with the
charges in this case and other matters, such cooperation to further include a
full and complete disclosure of all relevant information, including production
of any and all books, papers, documents, and other objects in defendant's
possession or control, and to be reasonably available for interviews which the
United States may require. If the cooperation is completed prior to
sentencing, the government agrees to consider whether such cooperation
qualifies as "substantial assistance" in accordance with the policy of the United
States Attorney for the Middle District of Florida, warranting the filing of a
motion at the time of sentencing recommending (1) a downward departure
from the applicable guideline range pursuant to USSG §5K1.1, or (2) the
imposition of a sentence below a statutory minimum, if any, pursuant to 18
U.S.C. § 3553(e), or (3) both. If the cooperation is completed subsequent to

sentencing, the government agrees to consider whether such cooperation

j 1
Defendant’s Initials J 2 5

 
Case 8:18-cr-00192-SDM-CPT Document 160 Filed 07/09/18 Page 6 of 22 PagelD 341

qualifies as "substantial assistance" in accordance with the policy of the United.
States Attorney for the Middle District of Florida, warranting the filing of a
motion for a reduction of sentence within one year of the imposition of
sentence pursuant to Fed. R. Crim. P. 35(b). In any case, the defendant
understands that the determination as to whether "substantial assistance" has
been provided or what type of motion related thereto will be filed, if any, rests
solely with the United States Attorney for the Middle District of Florida, and
the defendant agrees that defendant cannot and will not challenge that
determination, whether by appeal, collateral attack, or otherwise.
9. Use of Information - Section 1B1.8
Pursuant to USSG §1B1.8(a), the United States agrees that no
self-incriminating information which the defendant may provide during the
course of defendant's cooperation and pursuant to this agreement shall be used
in determining the applicable sentencing guideline range, subject to the
restrictions and limitations set forth in USSG §1B1.8(b).
10. Cooperation - Responsibilities of Parties
a. The government will make known to the Court and other
relevant authorities the nature and extent of defendant's cooperation and any
other mitigating circumstances indicative of the defendant's rehabilitative

intent by assuming the fundamental civic duty of reporting crime. However,

Defendant’s Initials A , 6

 
Case 8:18-cr-00192-SDM-CPT Document 160 Filed 07/09/18 Page 7 of 22 PagelD 342

the defendant understands that the government can make no representation
that the Court will impose a lesser sentence solely on account of, or in
consideration of, such cooperation.

b. It is understood that should the defendant knowingly
provide incomplete or untruthful testimony, statements, or information
pursuant to this agreement, or should the defendant falsely implicate or
incriminate any person, or should the defendant fail to voluntarily and
unreservedly disclose and provide full, complete, truthful, and honest
knowledge, information, and cooperation regarding any of the matters noted
herein, the following conditions shall apply:

(1) The defendant may be prosecuted for any perjury or
false declarations, if any, committed while testifying pursuant to this
agreement, or for obstruction of justice.

(2) The United States may prosecute the defendant for
the charges which are to be dismissed pursuant to this agreement, if any, and
may either seek reinstatement of or refile such charges and prosecute the
defendant thereon in the event such charges have been dismissed pursuant to
this agreement. With regard to such charges, if any, which have been
dismissed, the defendant, being fully aware of the nature of all such charges

now pending in the instant case, and being further aware of defendant's rights,

Defendant’s Initials \ Ce ) 7

 
Case 8:18-cr-00192-SDM-CPT Document 160 Filed 07/09/18 Page 8 of 22 PagelD 343

as to all felony charges pending in such cases (those offenses punishable by
imprisonment for a term of over one year), to not be held to answer to said
felony charges unless on a presentment or indictment of a grand jury, and
further being aware that all such felony charges in the instant case have
heretofore properly been returned by the indictment of a grand jury, does
hereby agree to reinstatement of such charges by recision of any order
dismissing them or, alternatively, does hereby waive, in open court,
prosecution by indictment and consents that the United States may proceed by
information instead of by indictment with regard to any felony charges which
may be dismissed in the instant case, pursuant to this plea agreement, and the
defendant further agrees to waive the statute of limitations and any speedy
trial claims on such charges.

(3) The United States may prosecute the defendant for
any offenses set forth herein, if any, the prosecution of which in accordance
with this agreement, the United States agrees to forego, and the defendant
agrees to waive the statute of limitations and any speedy trial claims as to any
such offenses.

(4) The government may use against the defendant the

defendant's own admissions and statements and the information and books,

Defendant’s Initials AI Q 2 8

 
Case 8:18-cr-00192-SDM-CPT Document 160 Filed 07/09/18 Page 9 of 22 PagelD 344

papers, documents, and objects that the defendant has furnished in the course
of the defendant's cooperation with the government.

(5) The defendant will not be permitted to withdraw the
guilty pleas to those counts to which defendant hereby agrees to plead in the
instant case but, in that event, defendant will be entitled to the sentencing
limitations, if any, set forth in this plea agreement, with regard to those counts
to which the defendant has pled; or in the alternative, at the option of the
United States, the United States may move the Court to declare this entire
plea agreement null and void.

11. Forfeiture of Assets

The defendant agrees to forfeit to the United States immediately
and voluntarily any and all assets and property, or portions thereof, subject to
forfeiture, pursuant to 21 U.S.C. § 853, whether in the possession or control of
the United States, the defendant or defendant's nominees.

The assets to be forfeited specifically include, but are not limited
to, the following assets which were either property constituting, or derived
from, proceeds of the offense to which the defendant is pleading guilty, or
were used, or intended to be used, to commit, or facilitate the commission of
the crime:

(1) Approximately $35,601.00 U. S. Currency seized
from Jesus Manuel Rodriguez; and

Defendant’s Initials j tt 4 9

 
Case 8:18-cr-00192-SDM-CPT Document 160 Filed 07/09/18 Page 10 of 22 PagelD 345

(2) Miscellaneous firearms and ammunition seized from
Jesus Manuel Rodriguez:

a.

b.

A Glock Model 17 Gen 4 9mm pistol, serial number
SEW473;

A Century Arms International (Zastava Serbia)
PAP M85 NP 5.56mm caliber pistol, serial number
M85-NP003817;

A Mossberg 500 12-gauge shotgun, serial number
0014977;

A Glock Model 17 Gen 4 9mm pistol, serial number
BDUV611;

Two .45 caliber magazines;

Two AK47 magazines containing approximately 77
rounds of ammunition;

Approximately eight rounds of 12-gauge shotgun
shells;

Approximately 17 rounds of 9mm ammunition;
Three 9mm magazines containing approximately 45
rounds of ammunition;

50-round drum magazine with approximately 34
rounds of 9mm ammunition; and

Approximately 92 rounds of rifle and pistol
ammunition.

The defendant agrees and consents to the forfeiture of these

assets pursuant to any federal criminal, civil judicial or administrative

forfeiture action. The defendant also agrees to waive all constitutional,

statutory and procedural challenges (including direct appeal, habeas corpus, or

any other means) to any forfeiture carried out in accordance with this Plea

Agreement on any grounds, including that the forfeiture described herein

constitutes an excessive fine, was not properly noticed in the charging

Defendant’s Initials j (Q f 4 10

 
Case 8:18-cr-00192-SDM-CPT Document 160 Filed 07/09/18 Page 11 of 22 PagelD 346

instrument, addressed by the Court at the time of the guilty plea, announced at
sentencing, or incorporated into the judgment.

If the United States seeks the forfeiture of specific assets pursuant
to Rule 32.2(b)(4), the defendant agrees that the preliminary order of forfeiture
will satisfy the notice requirement and will be final as to the defendant at the
time it is entered. In the event the forfeiture is omitted from the judgment, the
defendant agrees that the forfeiture order may be incorporated into the written
judgment at any time pursuant to Rule 36.

The defendant agrees to take all steps necessary to identify and
locate all property subject to forfeiture and to transfer custody of such property
to the United States before the defendant’s sentencing. To that end, the
defendant agrees to make a full and complete disclosure of all assets over
which defendant exercises control directly or indirectly, including all assets
held by nominees, to execute any documents requested by the United States to
obtain from any other parties by lawful means any records of assets owned by
the defendant, and to consent to the release of the defendant’s tax returns for
the previous five years. The defendant further agrees to be interviewed by the
government, prior to and after sentencing, regarding such assets and their
connection to criminal conduct. The defendant further agrees to be

polygraphed on the issue of assets, if it is deemed necessary by the United

Defendant’s Initials Jip, 11

 
Case 8:18-cr-00192-SDM-CPT Document 160 Filed 07/09/18 Page 12 of 22 PagelD 347

States. The defendant agrees that Federal Rule of Criminal Procedure 11 and
USSG § 1B1.8 will not protect from forfeiture assets disclosed by the
defendant as part of the defendant’s cooperation.

The defendant agrees to take all steps necessary to assist the
government in obtaining clear title to the forfeitable assets before the
defendant’s sentencing. In addition to providing full and complete
information about forfeitable assets, these steps include, but are not limited to,
the surrender of title, the signing of a consent decree of forfeiture, and signing
of any other documents necessary to effectuate such transfers.

Forfeiture of the defendant's assets shall not be treated as
satisfaction of any fine, restitution, cost of imprisonment, or any other penalty
the Court may impose upon the defendant in addition to forfeiture.

The defendant agrees that, in the event the Court determines that
the defendant has breached this section of the Plea Agreement, the defendant
may be found ineligible for a reduction in the Guidelines calculation for
acceptance of responsibility and substantial assistance, and may be eligible for
an obstruction of justice enhancement.

The defendant agrees that the forfeiture provisions of this plea
agreement are intended to, and will, survive the defendant, notwithstanding

the abatement of any underlying criminal conviction after the execution of this

Defendant’s Initials i B 12

 
Case 8:18-cr-00192-SDM-CPT Document 160 Filed 07/09/18 Page 13 of 22 PagelD 348

agreement. The forfeitability of any particular property pursuant to this
agreement shall be determined as if the defendant had survived, and that
determination shall be binding upon defendant’s heirs, successors and assigns
until the agreed forfeiture, including any agreed forfeiture amount, is collected
in full.
B. Standard Terms and Conditions
1. Restitution, Special Assessment and Fine

The defendant understands and agrees that the Court, in addition
to or in lieu of any other penalty, shall order the defendant to make restitution
to any victim of the offense(s), pursuant to 18 U.S.C. § 3663A, for all offenses
described in 18 U.S.C. § 3663A(c)(1); and the Court may order the defendant
to make restitution to any victim of the offense(s), pursuant to 18 U.S.C. §
3663, including restitution as to all counts charged, whether or not the
defendant enters a plea of guilty to such counts, and whether or not such
counts are dismissed pursuant to this agreement. The defendant further
understands that compliance with any restitution payment plan imposed by
the Court in no way precludes the United States from simultaneously pursuing
other statutory remedies for collecting restitution (28 U.S.C. § 3003(b)(2)),

including, but not limited to, garnishment and execution, pursuant to the

Defendant’s Initials J RB 13

 
Case 8:18-cr-00192-SDM-CPT Document 160 Filed 07/09/18 Page 14 of 22 PagelD 349

Mandatory Victims Restitution Act, in order to ensure that the defendant’s
restitution obligation is satisfied.

On each count to which a plea of guilty is entered, the Court
shall impose a special assessment pursuant to 18 U.S.C. § 3013. The special
assessment is due on the date of sentencing.

The defendant understands that this agreement imposes no
limitation as to fine.

2. Supervised Release

The defendant understands that the offense(s) to which the
defendant is pleading provide(s) for imposition of a term of supervised release
upon release from imprisonment, and that, if the defendant should violate the
conditions of release, the defendant would be subject to a further term of
imprisonment.

3. Immigration Consequences of Pleading Guilty

The defendant has been advised and understands that, upon
conviction, a defendant who is not a United States citizen may be removed
from the United States, denied citizenship, and denied admission to the

United States in the future.

Defendant’s Initials 4 (A 14

 
Case 8:18-cr-00192-SDM-CPT Document 160 Filed 07/09/18 Page 15 of 22 PagelID 350

A, Sentencing Information
The United States reserves its right and obligation to report to the
Court and the United States Probation Office all information concerning the
background, character, and conduct of the defendant, to provide relevant
factual information, including the totality of the defendant's criminal activities,
if any, not limited to the count(s) to which defendant pleads, to respond to
comments made by the defendant or defendant's counsel, and to correct any
misstatements or inaccuracies. The United States further reserves its right to
make any recommendations it deems appropriate regarding the disposition of
this case, subject to any limitations set forth herein, if any.
5. Financial Disclosures
Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P.
32(d)(2)(A)(ii), the defendant agrees to complete and submit to the United
States Attorney's Office within 30 days of execution of this agreement an
affidavit reflecting the defendant's financial condition. The defendant
promises that his financial statement and disclosures will be complete,
accurate and truthful and will include all assets in which he has any interest or
over which the defendant exercises control, directly or indirectly, including
those held by a spouse, dependent, nominee or other third party. The

defendant further agrees to execute any documents requested by the United

Defendant’s Initials Jk B 15

 
Case 8:18-cr-00192-SDM-CPT Document 160 Filed 07/09/18 Page 16 of 22 PagelD 351

States needed to obtain from any third parties any records of assets owned by
the defendant, directly or through a nominee, and, by the execution of this
Plea Agreement, consents to the release of the defendant's tax returns for the
previous five years. The defendant similarly agrees and authorizes the United
States Attorney's Office to provide to, and obtain from, the United States
Probation Office, the financial affidavit, any of the defendant's federal, state,
and local tax returns, bank records and any other financial information
concerning the defendant, for the purpose of making any recommendations to
the Court and for collecting any assessments, fines, restitution, or forfeiture
ordered by the Court. The defendant expressly authorizes the United States
Attorney's Office to obtain current credit reports in order to evaluate the
defendant's ability to satisfy any financial obligation imposed by the Coutt.
6. Sentencing Recommendations

It is understood by the parties that the Court is neither a party to
nor bound by this agreement. The Court may accept or reject the agreement,
or defer a decision until it has had an opportunity to consider the presentence
report prepared by the United States Probation Office. The defendant
understands and acknowledges that, although the parties are permitted to
make recommendations and present arguments to the Court, the sentence will

be determined solely by the Court, with the assistance of the United States

Defendant’s Initials Jee, 16

 
Case 8:18-cr-00192-SDM-CPT Document 160 Filed 07/09/18 Page 17 of 22 PagelD 352

Probation Office. Defendant further understands and acknowledges that any
discussions between defendant or defendant's attorney and the attorney or
other agents for the government regarding any recommendations by the
government are not binding on the Court and that, should any
recommendations be rejected, defendant will not be permitted to withdraw
defendant's plea pursuant to this plea agreement. The government expressly
reserves the right to support and defend any decision that the Court may make
with regard to the defendant's sentence, whether or not such decision is
consistent with the government's recommendations contained herein.

7. Defendant's Waiver of Right to Appeal the Sentence

The defendant agrees that this Court has jurisdiction and

authority to impose any sentence up to the statutory maximum and expressly
waives the right to appeal defendant's sentence on any ground, including the
ground that the Court erred in determining the applicable guidelines range
pursuant to the United States Sentencing Guidelines, except (a) the ground
that the sentence exceeds the defendant's applicable guidelines range as
determined by the Court pursuant to the United States Sentencing Guidelines;
(b) the ground that the sentence exceeds the statutory maximum penalty; or (c)
the ground that the sentence violates the Eighth Amendment to the

Constitution; provided, however, that if the government exercises its right to

Defendant’s Initials Rp 17

 
Case 8:18-cr-00192-SDM-CPT Document 160 Filed 07/09/18 Page 18 of 22 PagelD 353

appeal the sentence imposed, as authorized by 18 U.S.C. § 3742(b), then the
defendant is released from his waiver and may appeal the sentence as
authorized by 18 U.S.C. § 3742(a).
8. Middle District of Florida Agreement
It is further understood that this agreement is limited to the
Office of the United States Attorney for the Middle District of Florida and
cannot bind other federal, state, or local prosecuting authorities, although this
office will bring defendant's cooperation, if any, to the attention of other
prosecuting officers or others, if requested.
9, Filing of Agreement
This agreement shall be presented to the Court, in open court or
in camera, in whole or in part, upon a showing of good cause, and filed in this
cause, at the time of defendant's entry of a plea of guilty pursuant hereto.
10. Voluntariness
The defendant acknowledges that defendant is entering into this
agreement and is pleading guilty freely and voluntarily without reliance upon
any discussions between the attorney for the government and the defendant
and defendant's attorney and without promise of benefit of any kind (other
than the concessions contained herein), and without threats, force,

intimidation, or coercion of any kind. The defendant further acknowledges

Defendant’s Initials J k ) 18

 
Case 8:18-cr-00192-SDM-CPT Document 160 Filed 07/09/18 Page 19 of 22 PagelD 354

defendant's understanding of the nature of the offense or offenses to which
defendant is pleading guilty and the elements thereof, including the penalties
provided by law, and defendant's complete satisfaction with the representation
and advice received from defendant's undersigned counsel (if any). The
defendant also understands that defendant has the right to plead not guilty or
to persist in that plea if it has already been made, and that defendant has the
right to be tried by a jury with the assistance of counsel, the right to confront
and cross-examine the witnesses against defendant, the right against
compulsory self-incrimination, and the right to compulsory process for the
attendance of witnesses to testify in defendant's defense; but, by pleading
guilty, defendant waives or gives up those rights and there will be no trial.
The defendant further understands that if defendant pleads guilty, the Court
may ask defendant questions about the offense or offenses to which defendant
pleaded, and if defendant answers those questions under oath, on the record,
and in the presence of counsel (if any), defendant's answers may later be used
against defendant in a prosecution for perjury or false statement. The
defendant also understands that defendant will be adjudicated guilty of the
offenses to which defendant has pleaded and, if any of such offenses are
felonies, may thereby be deprived of certain rights, such as the right to vote, to

hold public office, to serve on a jury, or to have possession of firearms.

Defendant’s Initials ¢ | bp, 19

 
Case 8:18-cr-00192-SDM-CPT Document 160 Filed 07/09/18 Page 20 of 22 PagelD 355

11. Factual Basis

Defendant is pleading guilty because defendant is in fact guilty.
The defendant certifies that defendant does hereby admit that the facts set
forth below are true, and were this case to go to trial, the United States would
be able to prove those specific facts and others beyond a reasonable doubt.

FACTS

In April 2017, Tampa Police Department investigators identified
a drug trafficking organization (“DTO”) operating out of the Middle District
of Florida. Thereafter, the Federal Bureau of Investigation, Tampa Police
Department, Florida Department of Law Enforcement, and the Drug
Enforcement Administration initiated a joint investigation into the DTO.

Jesus Manuel Rodriguez (“RODRIGUEZ”), Bryan Gomez
Nevarez, Hector Jose Carrasquillo Perez, and Henry Coira were the principals
of the DTO, organizing the shipment of multi-kilogram amounts of cocaine
from Puerto Rico into the Middle District of Florida via the U.S. Mail and
distributing the narcotics to other members of the DTO. Specifically,
RODRIGUEZ was a leader and organizer of the DTO, which involved five or
more participants. Pedro Luis Ramos Burgos was also a multi-kilogram

supplier of cocaine for the DTO, supplying RODRIGUEZ and others.

Defendant’s Initials, Af p, 20

 
Case 8:18-cr-00192-SDM-CPT Document 160 Filed 07/09/18 Page 21 of 22 PagelD 356

Luis Enrique Hernandez Quinones, Avisys Lee Jackson, Javier
Albaladejo Lopez, William Leverne Norton, and Jose Angel Mendoza, Jr.
acted as mid-level distributors for the DTO by receiving and redistributing
kilogram quantities of cocaine and picking up drug proceeds.

Edgar Hernandez and Ismael Pagan Marrero acted as low-level
distributors for the DTO by receiving trafficking amounts of cocaine and
redistributing the narcotics on the streets or Tampa, Orlando, and elsewhere.
In total, the DTO was responsible for the distribution of more than 20
kilograms of cocaine during the course of the conspiracy.

On April 19, 2018, investigators executed six search warrants on
residences associated with members of the DTO. In total, investigators seized
approximately one kilogram of cocaine, six handguns, two assault rifles, one
shotgun, hundreds of rounds of ammunition, and more than $35,000 in
narcotics proceeds.

The above is merely a brief summary of the events, some of the
persons involved, and other information relating to this case and does not
include, nor is it intended to include, all of the events, persons involved, or

other information relating to this case.

Defendant’s Initials, | R f, 21

 
Case 8:18-cr-00192-SDM-CPT Document 160 Filed 07/09/18 Page 22 of 22 PagelD 357

12. Entire Agreement

This plea agreement constitutes the entire agreement between the
government and the defendant with respect to the aforementioned guilty plea
and no other promises, agreements, or representations exist or have been
made to the defendant or defendant's attorney with regard to such guilty plea.

13. Certification

The defendant and defendant's counsel certify that this plea

agreement has been read in its entirety by (or has been read to) the defendant

and that defendant fully understands its terms.

DATED this_3___ day of July 2018.

 

 

 

 

 

MARIA CHAPA LOPEZ
United States Attorney
Jesus Manuel Rodtiguez Carlton C. Gammons
Defendant Assistant United States Attorney
CHE ne
Nels6n Alfaro Christopher F. Murray
Attorney for Defendant Assistant United States Attorney

Chief, Violent Crimes and Narcotics Section

22

 
